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        IN THE UNITED STATES DISTRICT COURT FOR THE
              WESTERN DISTRICT OF OKLAHOMA

     1. PATRICK PETE STOVER,                          )
     2. SHERI LYNN STOVER,                     )
                                                      )
              Plaintiffs,                             )
                                                      )
v.                                                    ) Case No.: 17-cv-1002-D
                                                      )
     1. STATE FARM FIRE AND CASUALTY                  )
        COMPANY, a foreign for profit insurance       )
        corporation,                                  )
                                                      )
        Defendant.                                    )

                            NOTICE OF SETTLEMENT

        Comes Now the Plaintiffs, Patrick Pete Stover and Sheri Lynn Stover, by

and through their counsel of record, who hereby give notice to the court that the

parties have reached a settlement of the above captioned matter. At this time, the

parties are in the process of exchanging settlement release documents and drafts.

The parties hereby request that any scheduled court appearances and deadlines be

stricken. The Plaintiffs and Defendant anticipate that a final dismissal will be

filed within thirty days.

Respectfully submitted this 13th day of December, 2018.




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                            By:     /s/Michael McGrew
                                    Michael D. McGrew, OBA # 13167
                                    McGrew, McGrew & Associates
                                    400 N. Walker Ave., #115
                                    Oklahoma City, OK 73102
                                    Telephone: (405) 235-9909
                                    Facsimile: (405) 235-9929
                                    E-Mail: mcgrewslaw@yahoo.com
                                    ATTORNEYS FOR PLAINTIFFS




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                         CERTIFICATE OF SERVICE

      I hereby certify that on December 13, 2018, I electronically transmitted the
attached document, Notice of Settlement to the Clerk of the Court using the ECF
System for filing and transmittal of a Notice of Electronic Filing to the following
ECF registrants:

Jeffrey A. Curran
Lance Leffel
Jace White
John M. “Jake” Krattiger,
GableGotwals
One Leadership Square 15th floor
211 N. Robinson
Oklahoma City, OK 73102

COUNSEL FOR DEFENDANT




                                               s/Michael D. McGrew
                                               Michael D. McGrew




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